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                                    EXHIBIT 2

                            Blackline of DIP Term Sheet




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                                                            WINC, INC.


                                         SUPERPRIORITY SECURED
                             DEBTOR-IN-POSSESSION CREDIT FACILITY TERM SHEET

                                                         December 6, 2022

                                        Summary of Proposed Terms and Conditions

         This Summary of Terms and Conditions (this “DIP Term Sheet”) outlines certain terms of the DIP Facility
         (as defined herein) to be provided by the DIP Lender (as defined herein) subject to the conditions herein
         and as set forth more fully below. The Loan Parties are not authorized to disclose the terms contained
         herein to any person other than their professional advisors, who shall agree to maintain its confidentiality.

           Borrower:                          Winc, Inc., a Delaware corporation (“Winc”), BWSC, LLC, a California
                                              limited liability company (“BWSC”), Winc Lost Poet LLC, a Delaware
                                              limited liability company (“Lost Poet” and with Winc and BWSC, each a
                                              “Borrower” and together the “Borrowers” or “you”), each in their capacity as
                                              a debtor and debtor-in-possession (each individually a “Loan Party” and a
                                              “Debtor”, and collectively, the “Loan Parties” and the “Debtors”) in a
                                              voluntary case (together with the cases of its affiliated debtors and debtors-
                                              in-possession, the “Chapter 11 Cases”) to be filed under Chapter 11 of Title
                                              11 of the United States Code (the “Bankruptcy Code”) in the United States
                                              Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).This
                                              DIP Term Sheet assumes that the Borrowers will file voluntary proceedings
                                              simultaneously under the Bankruptcy Code in the Bankruptcy Court
                                              (collectively, the “Bankruptcy Case”).1

           DIP Lender:                        Project Crush Acquisition Corp LLC, a Delaware limited liability company
                                              will, either directly or through one or more US affiliates (collectively, the
                                              “DIP Lender”), finance the DIP Facility (as defined below) and provide the
                                              DIP Commitments (as defined herein). The DIP Lender will be identified as
                                              the “Stalking Horse Bidder” in the proposed order (the “Bid Procedures
                                              Order”) approving the bidding procedures in connection with the proposed
                                              sale of the assets identified as the “Acquired Assets” in that certain non-
                                              binding letter of intent from the DIP Lender to you dated November 24, 2022
                                              (the “Acquired Assets”).

           Type and Amount of the             A secured superpriority priming secured debtor-in-possession non-
           DIP Facility:                      amortizing facility comprised of a term loan in a principal amount of $5

         1 Reference is hereby made to that certain Credit Agreement, dated as of December 15, 2020 (as amended, restated,

         amended and restated, supplemented or otherwise modified from time to time prior to the date hereof, the “Prepetition
         Senior Credit Agreement” and, together with all agreements, documents, notes, mortgages, security agreements,
         pledges, guarantees, subordination agreements, instruments, amendments, fee letters and any other agreements
         delivered pursuant thereto or in connection therewith, the “Prepetition Senior Loan Documents”), by and among Winc
         Inc. and BWSC, LLC, as borrowers, and Banc of California, N.A., as successor-by-merger to Pacific Mercantile Bank,
         as Bank (together with its permitted agents, sub-agents, delegates, attorneys-in-fact, successors and assigns, the
         “Prepetition Secured Party”) and all Obligation (as defined in the Prepetition Senior Loan Documents) owed to the
         Prepetition Secured Party as of the Petition Date (the “Prepetition Senior Obligations).”

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                              million, of which (i) $2 million will be available upon entry of an Interim
                              Order (as defined below) acceptable to the DIP Lender, and (ii) the remaining
                              $3 million will be available upon entry of a Final DIP Order (as defined
                              below) acceptable to the DIP Lender (the “DIP Facility”; the DIP Lender’s
                              commitments under the DIP Facility, the “DIP Commitments”; the loan under
                              the DIP Facility, the “DIP Loan”; the DIP Lender’s claim under the DIP
                              Facility, a “DIP Claim”; and collectively, the “DIP Claims”; and proceeds
                              received by the Borrowers from the DIP Loan, the “DIP Proceeds”);

                              Following the Closing Date (as defined below), the DIP Loan may be
                              incurred in a single or multiple draws upon entry of an interim order of the
                              Bankruptcy Court authorizing and approving the DIP Facility and the use of
                              the Borrowers’ cash collateral (with the Prepetition Secured Party’s consent),
                              as applicable (the “Interim Order”), subject to the other terms and conditions
                              provided herein (the “Extension of Credit”); provided that the total amount
                              of all draws incurred before entry of the Final DIP Order shall not exceed the
                              cap of $2 million.

                              Once repaid, the DIP Loan incurred under the DIP Facility cannot be
                              reborrowed.

 Credit Bidding:              The Interim Order, the entry of a final order of the Bankruptcy Court
                              authorizing and approving the DIP Facility (including the DIP Loan and all
                              documents and lender fees related thereto) (such order to be acceptable in all
                              respects to the DIP Lender, the “Final DIP Order”), and the DIP Loan
                              Documents (as defined below) shall provide that, in connection with any sale
                              of any of the Debtors’ assets under section 363 of the Bankruptcy Code or
                              under a plan of reorganization, the DIP Lender shall have the right to credit
                              bid all amounts outstanding under the DIP Facility (including any accrued
                              interest and fees) in accordance with Section 363(k) of the Bankruptcy Code,
                              provided that any such bid includes sufficient cash to immediately and
                              indefeasibly satisfy the Prepetition Senior Obligations and the Adequate
                              Protection Obligations (as defined in the Interim Order and the Final Order,
                              as applicable) in full.

 Closing Date:                The date of the satisfaction or waiver by the DIP Lender of the relevant
                              “Conditions Precedent to Borrowing DIP Loan” set forth below (the
                              “Closing Date”).

 Maturity:                    All DIP Obligations (as defined herein) will be due and payable in full in cash
                              and the Debtors’ authority to use Cash Collateral will terminate unless
                              otherwise agreed to by the DIP Lender in writing on the earliest of (i) January
                              20, 2023, (ii) if the Final DIP Order has not been entered, twenty-eight (28)
                              calendar days after the Petition Date, (iii) the acceleration of the DIP Loan
                              and the termination of the DIP Commitments upon the occurrence of an event
                              referred to below under “Termination” or termination of the Prepetition
                              Secured Party’s consent of the Debtors use of Cash Collateral, (iv) the
                              effective date of any plan of reorganization, (v) the date the Bankruptcy Court
                              converts any of the Chapter 11 Cases to a case under chapter 7 of the
                              Bankruptcy Code, (vi) the date the Bankruptcy Court dismisses any of the
                              Chapter 11 Cases, (vii) the consummation of the sale of all or substantially

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                              all of the Borrowers’ assets and (viii) the date an order is entered in any
                              Bankruptcy Case of the Chapter 11 Cases appointing a Chapter 11 trustee or
                              examiner with enlarged powers (any such date, the “DIP Termination Date”).
                              Principal of, and accrued interest on, the DIP Loan and all other amounts
                              owing to the DIP Lender under the DIP Facility shall be payable on the DIP
                              Termination Date (the “Repaid Amount”)pari passu with the Prepetition
                              Senior Obligations.

 Budget:                      The “Budget” shall consist of a 7-week operating budget setting forth all
                              forecasted receipts and disbursements on a weekly basis for such 7-week
                              period beginning as of the week of the Petition Date, broken down by week,
                              including the anticipated weekly uses of the DIP Proceeds for such period
                              (and draws under the DIP Facility), which shall include, among other things,
                              available cash, cash flow, trade payables and ordinary course expenses, total
                              expenses and capital expenditures, fees and expenses relating to the DIP
                              Facility, fees and expenses related to the Chapter 11 Case Cases (including
                              professional fees), and working capital and other general corporate needs,
                              which forecast shall be in form and substance satisfactory to the DIP Lender
                              and Prepetition Secured Party (such Budget shall be supplemented in the
                              manner required pursuant to the “Financial Reporting Requirements” section
                              below).

 Use of Proceeds:             The DIP Loan shall be used solely in accordance with the Budget (including
                              Permitted Variances (as defined below)) and the terms and conditions of the
                              DIP Credit Agreement, the Interim Order, and the Final DIP Order, including
                              (but subject to the Budget) to (i) provide working capital and for other general
                              corporate purposes of the DebtorDebtors, (ii) fund the costs of the
                              administration of the Chapter 11 Case Cases (including professional fees and
                              expenses) and the section 363 sale process, and (iii) fund interest, fees, and
                              other payments contemplated in respect of the DIP Facility and consensual
                              use of cash collateral. For the avoidance of doubt, the Borrowers understand
                              and agree a permitted use shall be to pay the DIP Lender’s and the Prepetition
                              Secured Party’s reasonable costs. , fees and expenses relating to the DIP Loan
                              and consensual use of cash collateral, respectively, which shall be paid as set
                              forth in the DIP Credit Documents and pursuant to the Interim Order, Final
                              DIP Order, and any other applicable order, and which costs, fees and
                              expenses shall be accrued and paid upon the earlier of (i) the DIP Termination
                              Date, or (ii) the closing of a sale following entry of a Sale Order (as defined
                              below).

 Documentation:               At the Borrowers’ request and with the consent of the DIP Lender, the DIP
                              Facility initially will be provided pursuant to the terms of this DIP Term Sheet
                              and the Interim Order and Final DIP Order. The DIP Facility otherwise will
                              be evidenced by a credit agreement (the “DIP Credit Agreement”) in form
                              and substance satisfactory to the DIP Lender and the Prepetition Secured
                              Party with such modifications as are necessary to reflect the terms set forth
                              in this DIP Term Sheet and the nature of the DIP Facility as a debtor-in-
                              possession facility, including appropriate qualifications to reflect the
                              commencement and continuation of the Chapter 11 Cases, the events leading
                              up to the Chapter 11 Cases, the effect of the bankruptcy, the conditions in the
                              industry in which the Borrowers operate in as existing on the Closing Date

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                                 and/or the consummation of transactions contemplated by the Debtors’ “first
                                 day” pleadings, and to reflect operational matters reasonably acceptable to
                                 the DIP Lender , the Prepetition Secured Party, and the Debtors and other
                                 terms as may be reasonably agreed between DIP Lender and the Debtor, (the
                                 “Documentation Principles”), security documents and other legal
                                 documentation (collectively, together with the DIP Credit Agreement, the
                                 “DIP Loan Documents”), which DIP Loan Documents shall be in form and
                                 substance consistent with the Documentation Principles, this DIP Term Sheet
                                 and otherwise satisfactory to the DIP Lender and the Prepetition Secured
                                 Party.

 Controlled Accounts:            The Debtors shall maintain all existing deposit accounts (other than excluded
                                 accounts to be agreed) with the Prepetition Secured Party as depository bank
                                 and each such deposit account shall remain or become subject to a perfected
                                 lien and control pursuant to the terms of the Interim Order and the Final DIP
                                 Order or, as may be requested by the DIP Lender, an enforceable control
                                 agreement in favor of the DIP Lender Order (any each such account, a
                                 “Controlled Account”). The DIP Credit Agreement, the Interim Order
                                 (as applicable), and the Final DIP Order shall require the Debtors to maintain
                                 the DIP Proceeds in the Controlled Accounts except as permitted to be used
                                 in accordance with the Budget and shall prohibit the Debtors from
                                 withdrawing funds from the Controlled Accounts after the occurrence and
                                 during the continuance of an Event of Default under the DIP Credit
                                 Agreement, the Interim Order, and the Final Order; provided, however, that
                                 the Debtors shall be permitted to fund the Carve-Out and pay critical ordinary
                                 course administrative claims up to $670,000 in accordance with the terms of
                                 the Budget after an Event of Default.

 Interest:                       The DIP Loan will bear interest at a fixed rate per annum equal to 14%,
                                 accruing monthly, payable in arrears and payable in kind.

                                 Interest shall be calculated on the basis of the actual number of days elapsed
                                 in a 360 -day year.

 Default Interest:               Upon the occurrence of and during the continuance of an Event of Default
                                 under the DIP Loan Documents, the DIP Loan and all DIP Obligations will
                                 automatically bear interest at an additional 2.00% per annum.

 Fees:                           A closing fee equal to 2.0% (the “Closing Fee”) on the entire DIP
                                 Commitments, which shall be earned upon entry of the Interim Order. The
                                 Closing Fee shall be payable in kind, including any accrued interest and fees,
                                 to the DIP Lender upon the earlier of (i) the DIP Termination Date, or (ii) the
                                 closing of a sale following entry of a Sale Order (as defined below).

  Voluntary Prepayments:         Voluntary prepayments of the DIP Loan shall be permitted at any time,
                                 without premium or penalty.

 Priority and Security under All obligations of the Borrowers to the DIP Lender under the DIP Facility,
 DIP Facility:               including, without limitation, all principal and accrued interest, premiums (if
                             any), costs, fees and expenses or any other amounts due, or any exposure of

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                              each DIP Lender and its affiliates in respect of cash management incurred on
                              behalf of a Borrower under the DIP Facility (collectively, the “DIP
                              Obligations”), shall be secured by the following liens and security interests
                              (the “DIP Liens”):

                              (a)      subject to the Carve Out, pursuant to section 364(d)(1 and pari passu
                              with the Adequate Protection Liens (as defined below) of the Bankruptcy
                              Codeand the Senior Prepetition Liens, a first priority perfected senior priming
                              lien on, and security interest in substantially all of the assets of the Borrowers,
                              wherever located (including, without limitation, that may be subject to a
                              validly perfected security interest in existence on inventory, accounts
                              receivable, general intangibles, chattel paper, owned real estate, real property
                              leaseholds, fixtures and machinery and equipment fixtures and machinery and
                              equipment, deposit accounts, including all funds in the Controlled Accounts,
                              patents, copyrights, trademarks, tradenames, rights under license agreements,
                              other intellectual property and capital stock of subsidiaries, and all proceeds
                              thereof), that are subject to valid, perfect, and non-avoidable liens of the
                              Prepetition Secured Party as of the Petition Date; provided that the DIP Liens
                              do not prime any valid, perfected and enforceable statutory claims or related
                              claims under the Perishable Agricultural Commodities Act (PACA) or
                              applicable state law, to the extent such claims or liens are senior to the
                              Prepetition Senior Liens as of the Petition Date;

                              (b)      subject to the Carve Out, pursuant to section 364(c)(2) of the
                              Bankruptcy Code and pari passu with the Adequate Protection Liens and the
                              Senior Prepetition Liens, a first priority perfected lien on, and security interest
                              in, all present and after acquired property of the Debtors, wherever located,
                              not subject to a lien or security interest on the date of commencement of the
                              Chapter 11 Cases , excluding claims and causes of action under sections
                              502(d), 544, 545, 547, 548, 549, and 550 of the Bankruptcy Code
                              (collectively, the “Unencumbered Property”); Avoidance Actions”);
                              provided, however, upon entry of the Final Order, liens in favor of the DIP
                              Lender shall attach to and be perfected in any proceeds of Avoidance Actions;
                              and

                              (c)      subject to the Carve Out, pursuant to section 364(c)(3) of the
                              Bankruptcy Code and pari passu with the Adequate Protection Liens and the
                              Senior Prepetition Liens, a junior perfected lien on, and security interest in,
                              all present and after-acquired property of the Debtors, wherever located, that
                              is subject to a Permitted Lien on the Petition Date or subject to a Permitted
                              Lien in existence on the Petition Date that is perfected subsequent thereto as
                              permitted by section 546(b) of the Bankruptcy Code

                              (d)      subject to the Carve Out, a first priority perfected lien on, and security
                              interest in, all funds on deposit in the Controlled Accounts.; and

                              .

                              The property referred to in the preceding clauses (a), (b), (c) and (d) is
                              collectively referred to as the “DIP Collateral” and shall include, without
                              limitation, all assets (whether tangible, intangible, personal or mixed) of the

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                                   Borrowers, whether now owned or hereafter acquired and wherever located,
                                   before or after the Petition Date, including, without limitation, all accounts,
                                   proceeds of leases, inventory, equipment, equity interests or capital stock in
                                   subsidiaries, investment property, instruments, chattel paper, real estate,
                                   leasehold interests, contracts, patents, copyrights, trademarks and other
                                   general intangibles, the proceeds of all claims or causes of action (including
                                   upon entry of the Final DIP Order, avoidance actions and proceeds of
                                   avoidance actions under chapter 5 of the Bankruptcy Code) and all products,
                                   offspring, profits and proceeds thereof. The property referred to in the
                                   preceding clauses (a), (b), and (c) is collectively referred to as the “DIP
                                   Collateral”.

                                   The DIP Liens shall be effective and perfected as of the entry of the Interim
                                   Order (subject to the occurrence of the Closing Date) and without necessity
                                   of the execution, filing or recording of control agreements, financing
                                   statements or other agreements. However, the DIP Lender may, in its
                                   discretion, require the execution, filing or recording of any or all of the
                                   documents described in the preceding sentence.

                                   Notwithstanding the foregoing, the DIP Collateral shall not include (and the
                                   DIP Liens shall not extend to) assets scheduled and held by the Debtors in
                                   trust (but only for so long as such assets are held in trust).

 Superpriority DIP Claims:         All DIP Claims shall be entitled to the benefits of section 364(c)(1) of the
                                   Bankruptcy Code, having superpriority over any and all administrative
                                   expenses of the kind that are specified in sections 105, 326, 328, 330, 331,
                                   503(b), 506(c), 507(a), 507(b), 546(c), 726, 1114 or any other provisions of
                                   the Bankruptcy Code, subject only to the Carve Out and pari passu with the
                                   Adequate Protection Superpriority Claim.

                                   The DIP Claims will, at all times during the period that the DIP Loan remains
                                   outstanding, remain, in right of payment, senior in priority to all other claims
                                   or administrative expenses, subject only to the Carve Out and pari passu with
                                   the Adequate Protection Superpriority Claim.

 Carve            Out:Adequate “Carve Out” means an amount equal to the sum of the following (A) : (i) all
 Protection                    fees required to be paid to the Clerk of the Bankruptcy Court and to the Office
                               of the United States Trustee under 28 U.S.C. § 1930(a) plus interest pursuant
                               to 31 U.S.C. § 3717 (without regard to the notice set forth in clause (ii)
                               below); (ii) to the extent allowed by the Bankruptcy Court at any time,
                               whether by interim order, final order, or otherwise, all accrued and unpaid
                               fees, disbursements, costs and expenses incurred by persons or firms retained
                               by the Debtors pursuant to section 327, 328 or 363 of the Bankruptcy Code
                               (the “Debtor Professionals”) and all accrued unpaid fees, disbursements,
                               costs and expenses incurred by the Committee (if any) pursuant to section
                               328 and 1103 of the Bankruptcy Code (the “Committee Professionals,”
                               together with the Debtor Professionals, the “Estate Professionals,” and such
                               Estate Professional fees in each case in accordance with the Budget, the
                               “Allowed Professional Fees”) at any time before or on the first business day
                               following delivery by the DIP Lender of a Carve Out Trigger Notice (as
                               defined below), whether allowed by the Bankruptcy Court prior to or after

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                              delivery of a Carve Out Trigger Notice; and (iii) Allowed Professional Fees
                              of Estate Professionals in an aggregate amount not to exceed $100,000
                              incurred after the first business day following delivery by the DIP Lender of
                              a Carve Out Trigger Notice, to the extent allowed at any time, whether by
                              interim order, final order, or otherwise (the amounts set forth in this clause
                              (iii), the “Post-Carve Out Trigger Notice Cap”); provided, however, nothing
                              herein shall be construed to impair the ability of any party to object to any
                              fees, expenses, reimbursement or compensation sought by any such
                              professionals or any other person or entity. For purposes of the foregoing,
                              “Carve Out Trigger Notice” shall mean a written notice (which may be
                              delivered by e-mail (or other electronic means)) by the DIP Lender to the
                              Debtors and their counsel, the United States Trustee, and lead counsel to any
                              Committee appointed in the Chapter 11 Cases, which notice may be delivered
                              following the occurrence of an Event of Default, stating that the Post-Carve
                              Out Trigger Notice Cap has been invoked.

                              On a weekly basis, the fees of the Debtors’ and committee’s professionals
                              provided in the Budget shall be funded into an escrow account with Young
                              Conaway Stargatt & Taylor, LLP to satisfy the professional fees included
                              within the Carve-Out (the “Professional Fee Reserve”). The funds on deposit
                              in the Professional Fee Reserve shall be available to satisfy the obligations
                              owed to the Debtors’ and committee’s professionals benefiting from the
                              Carve-Out, and the DIP Lender shall have a security interest upon any
                              residual interest in the Professional Fee Reserve available following
                              satisfaction in cash in full of all obligations benefiting from the Carve-Out.

                              For the avoidance of doubt and notwithstanding anything to the contrary
                              herein, the Carve Out shall be senior to all liens and claims securing the DIP
                              Facility, and all other forms of adequate protection, liens, or claims securing
                              the DIP Obligations.

                              The Prepetition Secured Party shall receive adequate protection (in each case
                              equal to priority of the DIP Liens and DIP Superpriority Claim and subject to
                              the prior payment of the Carve Out) as follows:

                                     to the extent of any diminution in the value of the Prepetition
                                      Collateral, a superpriority administrative expense claim (the
                                      “Adequate Protection Superpriority Claim”) pursuant to section
                                      507(b) of the Bankruptcy Code, which Adequate Protection
                                      Superpriority Claim shall be pari passu with the DIP Superpriority
                                      Claim and subject to the Carve Out;

                                     valid, perfected, postpetition first priority security interests and liens
                                      in and on all of the DIP Collateral (the “Adequate Protection Liens”),
                                      which Adequate Protection Liens shall be (i) pari passu with the DIP
                                      Liens and/or payment of any DIP Obligations on account thereof and
                                      (ii) subordinate to the Carve Out;

                                     monthly payment from the Debtors to reimburse reasonable
                                      professional fees and expenses, including fees and expenses of
                                      counsel, incurred by the Prepetition Secured Party both before and

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                                      after the Petition Date, subject to the fee procedures in the Interim
                                      Order; and

                                     any fees, expenses, and interest, including default rate interest, due
                                      under the Prepetition Senior Loan Documents to the Prepetition
                                      Secured Party shall accrue as set for therein pursuant to the DIP
                                      Documents and shall be due and payable to the Prepetition Secured
                                      Party as a condition precedent to the termination of the DIP Loan
                                      Documents.

  Carve Out:                  As set forth in the Interim Order and the Final Order, as applicable.


 Conditions Precedent to      The DIP Credit Agreement will contain the following conditions precedent
 Borrowing DIP Loan:          to borrowings on the date of the Extension of Credit, which conditions
                              precedent apply to any funding of the DIP Facility under this DIP Term Sheet:
                                 The DIP Lender and the Prepetition Secured Party shall have received a
                                  borrowing notice from the Borrowers at least one (1) business day prior
                                  to the anticipated date of the Extension of Credit.

                                 No Default or Event of Default shall have occurred, and shall be
                                  continuing, under the DIP Loan Documents immediately prior to the
                                  funding of the DIP Loan or would result from such borrowing of the DIP
                                  Loan.

                                 The making of the DIP Loan shall be authorized pursuant to the Interim
                                  Order or the Final DIP Order, as applicable.

                                 The entry of the Interim Order or Final DIP Order, as the case may be, in
                                  form and substance consistent with the terms and conditions set forth
                                  herein and otherwise satisfactory to the DIP Lender in its sole discretion,
                                  which Interim Order or Final DIP Order, as the case may be, shall be in
                                  full force and effect, shall not have been reversed, vacated or stayed and
                                  shall not have been amended, supplemented or otherwise modified
                                  without the prior written consent of the DIP Lender.

                                 Other than the Known Events, since the Petition Date, there shall not have
                                  been a Material Adverse Change; provided that Known Events and
                                  Material Adverse Change shall be defined in the DIP Credit Agreement.

                                 The Loan Parties shall be in compliance with (i) the Interim Order or
                                  the Final DIP Order, as the case may be, and (ii) the Budget (subject to
                                  Permitted Variances).




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 Affirmative and Negative     The DIP Credit Agreement will contain customary affirmative and negative
 Covenants:                   covenants to be consistent with the Documentation Principles, including
                              without limitation, the following:

                                 The Debtors shall deliver to the DIP Lender and its , the Prepetition
                                  Secured Party, and their counsels for review and comment, as soon as
                                  commercially reasonable, and in any event not less than three (3)
                                  Business Days prior to filing (or as soon thereafter as is reasonably
                                  practicable under the circumstances), all pleadings, motions and other
                                  documents material to the DIP Lender or the Prepetition Secured Party
                                  (provided that any of the foregoing relating to the DIP Facility shall be
                                  deemed material) to be filed on behalf of the Debtors with the
                                  Bankruptcy Court.

                                 The Debtors shall promptly deliver in accordance with the Bid
                                  Procedures, to the DIP Lender and the Prepetition Secured Party copies
                                  of any term sheets, proposals, presentations, amendments to the Asset
                                  Purchase Agreement (as defined below) or other documents, from any
                                  party, related to (i) the restructuring of the Debtors, or (ii) the sale of
                                  assets of one or more of the Debtors. Notwithstanding the foregoing, the
                                  Debtors will not provide copies of any term sheets, proposals,
                                  presentations, amendments to the Asset Purchase Agreement, bids or
                                  other confidential information to the DIP Lender if the DIP Lender is an
                                  active bidder or involved in the bidding process as to the relevant Asset(s)
                                  at the applicable time.

                                 The Debtors shall comply with laws (including without limitation, the
                                  Bankruptcy Code, ERISA, environmental laws, OFAC, money
                                  laundering laws, PATRIOT Act and other anti-terrorism laws and anti-
                                  corruption laws), pay taxes, maintain all necessary licenses and permits
                                  and trade names, trademarks, patents, preserve corporate existence,
                                  maintain appropriate and adequate insurance coverage and permit
                                  inspection of properties, books and records, in each case, subject to
                                  materiality qualifiers consistent with the Documentation Principles.

                                 The Debtors shall limit all transactions with affiliates of the Debtors
                                  (other than ordinary course transactions consistent with past practice
                                  among or between any Debtors and their respective subsidiaries),
                                  including, without limitation, restrictions on payment of any
                                  management fees to affiliates.

                                 The Debtors shall maintain a cash management system as required by the
                                  Interim Order and the Final DIP Order.

                                 The Debtors shall deliver the Budget, updated weekly (and calculated
                                  cumulatively for each 1-week Budget period) and adherence to the
                                  Budget, subject to Permitted Variances.

                                 Aggregate disbursements shall not exceed the aggregate amount of
                                  disbursements in the Budget for the applicable period by more than the


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                                  Permitted Variance.

                                 For purposes hereof, the term “Permitted Variances” will mean, for the
                                  first full week period after the Closing Date, to be tested on the third
                                  business day of each week following the end of such week period (the
                                  “Initial Testing Period”) and for the Applicable Rolling Period (as
                                  defined below) after the Initial Testing Period (each such period after the
                                  Initial Testing Period, together with the Initial Testing Period, the
                                  “Testing Periods”): (i) all favorable variances, and (ii) an unfavorable
                                  variance of no more than 10% for actual operating disbursements (on an
                                  aggregate basis), in each case as compared to the budgeted
                                  disbursements, respectively, set forth in the Budget with respect to the
                                  applicable Testing Period; notwithstanding the foregoing, the Carve Out
                                  shall be excluded from the determination of Permitted Variances. The
                                  Permitted Variances with respect to each Testing Period shall be
                                  determined and reported to the DIP Lender and the Prepetition Secured
                                  Party not later than 5:00 p.m. Central Time on the third business day of
                                  each week immediately following the end of each such Testing Period.
                                  Additional variances, if any, from the Budget, and any proposed changes
                                  to the Budget, shall be subject to the approval of the DIP Lender and the
                                  Prepetition Secured Party. Variances will be reported on a cumulative
                                  basis matching the relevant Applicable Rolling Period in a format
                                  replicating the Budget and will include explanation of variances
                                  (including whether they are permanent or temporal in nature). Variances
                                  will be carried over across Applicable Rolling Periods solely to the extent
                                  they are permanent in nature. “Applicable Rolling Period” means, (i) for
                                  the Initial Testing Period, the most recently completed calendar week, (ii)
                                  for the second Testing Period after the Closing Date, the most recently
                                  completed two calendar weeks, (iii) for the third Testing Period after the
                                  Closing Date, the most recently completed three calendar weeks and (iv)
                                  for each Testing Period thereafter, the most recently completed four
                                  calendar weeks.

                                 Consistent with the Documentation Principles and subject to the Budget,
                                  the Debtors shall not incur or assume any additional debt (including
                                  intercompany funding) or contingent obligations in respect of debt, give
                                  any guaranties in respect of debt, create any liens, charges or
                                  encumbrances or incur additional material lease obligations, in each case,
                                  beyond agreed upon limits; not merge or consolidate with any other
                                  person, change the nature of business or corporate structure or create or
                                  acquire new subsidiaries, in each case, beyond agreed upon limits; not
                                  amend its charter or by laws; not sell, lease or otherwise dispose of assets
                                  (including, without limitation, in connection with a sale leaseback
                                  transaction) outside the ordinary course of business and beyond agreed
                                  upon limits; not give a negative pledge on any assets in favor of any
                                  person other than the DIP Lender; and not permit to exist any consensual
                                  encumbrance on the ability of any subsidiary to pay dividends or other
                                  distributions to the Borrowers; in each case, subject to customary
                                  exceptions or baskets as may be agreed.

                                 The Debtors shall not (i) make, commit to make, or permit to be made

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                                  any bonus payments (including retention and incentive bonuses) to any
                                  employees of the Debtors and their subsidiaries in excess of the amounts
                                  set forth in the Budget (on an aggregate basis) and (ii) terminate any
                                  executive officers or other key employees of the Debtors and their
                                  subsidiaries without the DIP Lender’s prior written consent, which
                                  consent shall not be unreasonably withheld.

                                 The Debtors shall not permit any change in ownership or control of any
                                  Debtor or any subsidiary or any change in accounting treatment or
                                  reporting practices, except as required by GAAP or as permitted or
                                  contemplated by the DIP Credit Agreement.

                                 Without the prior written consent of the DIP Lender and the Prepetition
                                  Secured Party, the Debtors shall not make or permit to be made any
                                  change to the Interim Order or the Final DIP Order with respect to the
                                  DIP Facility.

                                 The Debtors shall not permit the Debtors to seek authorization for, and
                                  not permit the existence of, any claims other than that of the DIP Lender
                                  and the Prepetition Secured Party entitled to a superpriority under section
                                  364(c)(1) of the Bankruptcy Code that is senior or pari passu with the
                                  DIP Lender’s section 364(c)(1) claim, except for the Carve Out.

                                 The Debtors shall comply with the Milestones (as defined herein).


 Financial Reporting          The Borrowers shall provide to the DIP Lender and the Prepetition Secured
 Requirements:                Party (hereinafter the “Financial Reporting Requirements”): (i) following
                              delivery of the Budget on the Closing Date, by not later than 5:00 p.m. Eastern
                              Time on the third business day of the second full week following the Closing
                              Date and by not later than 5:00 p.m. Eastern Time on the third business day
                              of every other week thereafter following the end of each Testing Period, an
                              updated Budget, in each case, in form and substance reasonably satisfactory
                              to the DIP Lender and Prepetition Secured Party for the subsequent 7 week
                              period consistent with the form of the Budget, and such updated Budget shall
                              become the “Budget” for the purposes of the DIP Facility upon the DIP
                              Lender’s and Prepetition Secured Party’s acknowledgement that the proposed
                              updated Budget is substantially in the form of the Budget and in substance
                              satisfactory to the DIP Lender and Prepetition Secured Party (provided, that,
                              until a new Budget has been approved by the DIP Lender and Prepetition
                              Secured Party, the most recently approved Budget shall govern); and (ii)
                              beginning on the third business day of the first full week following the
                              Closing Date (by not later than 5:00 p.m. Eastern Time), and on the third
                              business day of each week thereafter following the end of each Testing Period
                              (by not later than 5:00 p.m. Eastern Time), a variance report (the “Variance
                              Report”) setting forth actual cash receipts and disbursements and cash flows
                              of the Debtors for the prior Testing Period and setting forth all the variances,
                              on a line-item and aggregate basis, from the amount set forth for such period
                              as compared to the applicable Budget delivered by the Debtors, in each case,
                              on a weekly and cumulative rolling 4-week basis (and each such Variance
                              Report shall include explanations for all material variances and shall be

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                              certified by the Chief Financial Officer of the Debtors). The Borrowers will
                              promptly provide notice to the DIP Lender and the Prepetition Secured Party
                              of any Material Adverse Change.

                              All deliveries required pursuant to this section shall be subject to the
                              confidentiality provision to be negotiated in the DIP Credit Agreement.

                              At the election of the DIP Lender or the Prepetition Secured Party, on each
                              Monday (or, in the event that such day is not a Business Day then on the
                              Business Day immediately following) during the Chapter 11 Cases, the
                              Borrowers’ senior management and professionals shall host a telephonic
                              meeting for the DIP Lender , the Prepetition Secured Party, and their
                              professionals at which the Borrower’s senior management and professionals
                              shall provide an update to the DIP Lender and the Prepetition Secured Party
                              (and make themselves available for questions) with respect to the financial
                              and operating performance of the Loan Parties and their estates, including,
                              but not limited to, the Variance Report.

 Other Reporting              The DIP Credit Agreement will contain other customary reporting
 Requirements:                requirements for similar debtor-in-possession financings and others
                              determined by the DIP Lender in its and the Prepetition Secured Party in their
                              reasonable discretion to be appropriate to the transactions contemplated
                              herein, including, without limitation, with respect to material adverse events,
                              events and notices under other material debt instruments, litigation,
                              contingent liabilities, ERISA or environmental events and consistent with the
                              Documentation Principles (collectively with the financial reporting
                              information described above, the “Information”).

 LOI Milestone:               By no later than November 30, 2022, you shall deliver Debtors have delivered
                              to the DIP Lender , and shall exercise best efforts to implement, a binding
                              letter of intent in which DIP Lender is identified as the “Stalking Horse
                              Bidder” in connection with the proposed sale of the assets identified as the
                              “Acquired Assets” in that certain non-binding letter of intent from the DIP
                              Lender to you dated November 26, 2022.




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 Chapter 11 Cases             The DIP Credit Agreement will include the following milestones related to
 Milestones:                  the Debtors’ Chapter 11 Cases (the “Milestones”):
                                     No later than three (3five (5) business days after the Petition Date,
                                      the Bankruptcy Court shall have entered the Interim Order.
                                     No later than three (3five (5) business days after the Petition Date,
                                      the Debtors shall file with the Bankruptcy Court a motion (the “Bid
                                      Procedures Motion”) for approval of bid procedures consistent with
                                      the Bid Procedures Order (the “Bid Procedures”) in form and
                                      substance acceptable to the DIP Lender , the Prepetition Secured
                                      Party, and the Debtors.
                                     No later than seven five (75) calendar business days after the Petition
                                      Date, the Debtors shall file with the Bankruptcy Court a stalking
                                      horse asset purchase agreement for the Acquired Assets with the DIP
                                      Lender as the purchaser consistent with the proposed Bid Procedures
                                      (the “Asset Purchase Agreement”), pursuant to which the DIP Lender
                                      shall be designated the stalking horse bidder, the proposed bid
                                      protections for the DIP Lender as stalking horse bidder are approved
                                      and the DIP Lender shall be permitted to credit bid its DIP Loan
                                      pursuant to Section 363(k) of the Bankruptcy Code.
                                     No later than fourteen (14twenty-two (22) calendar days after the
                                      Petition Date, the Bankruptcy Court shall have entered the Bid
                                      Procedures Order designating the DIP Lender as the stalking horse
                                      bidder, approve bid protections for the DIP Lender as the stalking
                                      horse bidder, and permitting the DIP Lender to credit bid its DIP
                                      Loan pursuant to Section 363(k) of the Bankruptcy Code;
                                     No later than twenty-eight (28) calendar days after the Petition Date,
                                      the Bankruptcy Court shall have entered the Final DIP Order;
                                     No later than forty-five (45) calendar days after the Petition Date, the
                                      Bankruptcy Court shall have entered one or more final, non-
                                      appealable sale order(s) (which shall be in form and substance
                                      reasonably acceptable to the DIP Lender) approving each of the
                                      winning bid(s) resulting from the auction (the “Sale Order”); and
                                     No later than January 20, 2023, the Asset Sale Effective Date (as
                                      defined in the Bid Procedures Order) shall have occurred.

 Events of Default:           The DIP Credit Agreement will contain events of default customarily found
                              in loan agreements for similar debtor-in-possession financings and other
                              events of default deemed by the DIP Lender and the Prepetition Secured Party
                              appropriate to the transactions contemplated therein which will be applicable
                              to the Debtors and their subsidiaries (each an “Event of Default”), including,
                              without limitation:
                                 failure to make payments when due;
                                 invalidity of the DIP Loan Documents;
                                 termination of the Asset Purchase Agreement due to a breach thereunder


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                                  by the Debtors;
                                 any of the Debtors shall file a pleading seeking to vacate or modify the
                                  Interim Order or the Final DIP Order over the objection of the DIP Lender
                                  or the Prepetition Secured Party;
                                 entry of an order without the prior written consent of the DIP Lender and
                                  the Prepetition Secured Party amending, supplementing or otherwise
                                  modifying the Interim Order or the Final DIP Order;
                                 reversal, vacatur or stay of the effectiveness of the Interim Order or the
                                  Final DIP Order except to the extent reversed within five (5) Business
                                  Days;
                                 any violation of any material term of the Interim Order or the Final DIP
                                  Order by the Debtors;
                                 dismissal of the Chapter 11 Case of a Debtor with material assets or
                                  conversion of the Chapter 11 Case of a Debtor with material assets to a
                                  case under Chapter 7 of the Bankruptcy Code, or any Debtor shall file a
                                  motion or other pleading seeking such dismissal or conversion of any
                                  Bankruptcy Caseof the Chapter 11 Cases;
                                 appointment of a Chapter 11 trustee or examiner with enlarged powers,
                                  or any Debtor shall file a motion or other pleading seeking such
                                  appointment;
                                 any sale of all or substantially all assets of the Debtors pursuant to Section
                                  363 of the Bankruptcy Code, unless such sale is conducted in accordance
                                  with the Bid Procedures;
                                 failure to meet a Milestone, unless extended or waived by the prior
                                  written consent of the DIP Lender and the Prepetition Secured Party;
                                 the Debtors’ filing of (or supporting another party in the filing of) a
                                  motion seeking entry of, or the entry of an order by the Bankruptcy Court,
                                  granting any superpriority claim or lien (except as contemplated herein)
                                  which is senior to or pari passu with the DIP Claims or the Adequate
                                  Protection Obligations;
                                 an order shall be entered in any of the Chapter 11 Cases, without the prior
                                  written consent of the DIP Lender: (i) to permit any administrative
                                  expense or any claim (now existing or hereafter arising of any kind or
                                  nature whatsoever) to have administrative priority equal or superior to the
                                  DIP Claims or the Adequate Protection Obligations (other than the Carve
                                  Out) or (ii) granting or permitted grant of a lien that is equal in priority or
                                  senior to the DIP Liens or the Adequate Protection Liens (other than the
                                  Carve Out);
                                 the Debtors’ filing of a motion seeking entry of an order approving any
                                  key employee incentive plan, employee retention plan, or comparable
                                  plan, without the prior written consent of the DIP Lender;
                                 cessation of the DIP Liens , Adequate Protection Obligations, or the DIP
                                  Claims to be valid, perfected and enforceable in all respects;
                                 Permitted Variances under the Budget are exceeded for any period of

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                                  time without consent of or waiver by the DIP Lender and the Prepetition
                                  Secured Party;
                                 subject to entry of the Final DIP Order, the allowance of any claim or
                                  claims under Section 506(c) of the Bankruptcy Code or otherwise against
                                  any DIP Lender or the Prepetition Secured Party;

                                 an order shall have been entered by the Bankruptcy Court prohibiting,
                                  limiting or restricting the right of the DIP Lender to credit bid for any or
                                  all of the Debtors’ assets; and

                                 the payment of any prepetition claim other than (i) as consented to by the
                                  DIP Lender and the Prepetition Secured Party, (ii) as authorized by the
                                  Budget, (iii) permitted under the terms of the DIP Credit Agreement or
                                  (iv) as authorized by the Bankruptcy Court pursuant to the “first day” or
                                  “second day” orders or the Interim Order or the Final DIP Order and
                                  reflected in the Budget.

 Termination:                 Upon the occurrence and during the continuance of an Event of Default, the
                              DIP Lender or the Prepetition Secured Party, as applicable, shall, by written
                              notice to Borrowers, its counsel, the U.S. Trustee and counsel for any
                              statutory committee, terminate the DIP Facility or consent to use cash
                              collateral, declare the obligations in respect thereof of the DIP Facility to be
                              immediately due and payable and, subject to the immediately following
                              paragraph, exercise all rights and remedies under the DIP Loan Documents,
                              the Interim Order, and the Final DIP Order.

 Remedies:                    The DIP Lender and the Prepetition Secured Party shall have customary
                              remedies upon the occurrence and during the continuance of an Event of
                              Default, including, without limitation, the following:

                              Without further order from the Bankruptcy Court, and subject to the terms of
                              the Interim Order and the Final DIP Order (including in respect of any
                              required notices), the automatic stay provisions of section 362 of the
                              Bankruptcy Code shall be vacated and modified to the extent necessary to
                              permit the DIP Lender and Prepetition Secured Party, as applicable, to
                              exercise, upon the occurrence and during the continuance of any Event of
                              Default under their the respective DIP Loan Documents, all rights and
                              remedies provided for in the DIP Loan Documents, and to take any or all of
                              the following actions without further order of or application to the
                              Bankruptcy Court (as applicable): (i) in the case of the Prepetition Secured
                              Party, (a) withdraw its consent to the Debtors’ continuing use of Cash
                              Collateral and (b) set-off any amounts held in Cash Collateral, including,
                              without limitation, in any Cash Collateral account maintained with the
                              Prepetition Secured Party (subject to the rights of the DIP Lender and such
                              rights held by the DIP Lender shall be pari passu with all such rights granted
                              to the Prepetition Secured Party herein); and (ii) in the case of the DIP Lender,
                              (a) immediately terminate the Debtors’ limited use of any cash collateralCash
                              Collateral; (b) cease making any DIP Loan under the DIP Facility to the
                              Debtors; (c) declare all DIP Obligations to be immediately due and payable;
                              (d) freeze monies or balances in the Debtors’ accounts (and, with respect to

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                               the DIP Credit Agreement and the DIP Facility, sweep all funds contained in
                               the Controlled Accounts); (e) immediately set-off any and all amounts in
                               accounts maintained by the Debtors with the DIP Lender against the DIP
                               Obligations, or otherwise enforce any and all rights against the DIP Collateral
                               in the possession of any of the applicable DIP Lender, including, without
                               limitation, disposition of the DIP Collateral solely for application towards the
                               DIP Obligations; and (f (subject to the rights of the Prepetition Secured Party
                               and such rights held by the Prepetition Secured Party shall be pari passu with
                               all such rights granted to the DIP Lender herein); and (e) take any other
                               actions or exercise any other rights or remedies permitted under the Interim
                               Order and the Final DIP Order, the DIP Loan Documents or applicable law
                               to effect the repayment of the DIP Obligations pari passu with the Prepetition
                               Senior Obligations; provided, however, that the DIP Lender and the
                               Prepetition Secured Party, as applicable, must provide the Debtors with five
                               (5) calendar days’ written notice (which may be by email) before exercising
                               any enforcement rights or remedies; provided, further, that neither the
                               Debtors, any statutory committee nor any other party-in-interest shall have
                               the right to contest the enforcement of the remedies set forth in the Interim
                               Order and the Final DIP Order and the DIP Loan Documents. The Debtors
                               shall cooperate fully with the DIP Lender and the Prepetition Secured Party
                               in their exercise of rights and remedies, whether against the DIP Collateral or
                               otherwise.

                               The Debtors shall waive any right, without the prior written consent of the
                               DIP Lender and the Prepetition Secured Party, to seek relief under the
                               Bankruptcy Code, including under section 105 thereof, to the extent such
                               relief would restrict or impair the rights and remedies of the DIP Lender and
                               the Prepetition Secured Party set forth in the Interim Order and the Final DIP
                               Order and in the DIP Loan Documents.

 Marshalling and Waiver of Effective upon entry of the Final DIP Order, the DIP Lender and the
 506(c) and 552(b) Claims: Prepetition Secured Party shall not be subject to the equitable doctrine of
                           “marshalling” or any similar doctrine with respect to the DIP Collateral and
                           all proceeds shall be received and applied pursuant to the Final DIP Order
                           and the DIP Loan Documents notwithstanding any other agreement or
                           provision to the contrary.
                               Effective upon entry of the Final DIP Order, the Debtors (on behalf of
                               themselves and their estates) shall waive, and shall not assert in the Chapter
                               11 Cases or any successor cases, (i) any surcharge claim under sections
                               105(a) and/or 506(c) of the Bankruptcy Code or otherwise for any costs and
                               expenses incurred in connection with the preservation, protection or
                               enhancement of, or realization by the DIP Lender, and the Prepetition
                               Secured Party upon the DIP Collateral and (ii) the DIP Lender and the
                               Prepetition Secured Party shall be entitled to all of the rights and benefits of
                               section 552(b) of the Bankruptcy Code, and the “equities of the case”
                               exception under section 552(b) of the Bankruptcy Code shall not apply to the
                               DIP Lender and the Prepetition Secured Party with respect to proceeds,
                               product, offspring or profits of any of the DIP Collateral.

 Expenses                      The Borrowers shall jointly and severally pay (i) (x) all reasonable and

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                              documented (in summary form) out-of-pocket fees, costs, disbursements and
                              expenses of the DIP Lender (including, but limited in the case of counsel, to
                              all reasonable and documented (in summary form) out-of-pocket fees, costs,
                              disbursements and expenses of the DIP Lender’s counsels, and, to the extent
                              necessary, one firm of local counsel engaged by the DIP Lender in
                              connection with the Debtors’ Chapter 11 Cases, and any successor counsel
                              to each), in each case in connection with the negotiations, preparation,
                              execution and delivery of the DIP Loan Documents and the funding of all
                              DIP Loan under the DIP Facility, including, without limitation, all due
                              diligence, transportation, computer, duplication, messenger, audit,
                              insurance, appraisal, valuation and consultant costs and expenses, and all
                              search, filing and recording fees, incurred or sustained by the DIP Lender
                              and its counsels and professional advisors in connection with the DIP
                              Facility, the DIP Loan Documents or the transactions contemplated thereby,
                              the administration of the DIP Facility and any amendment or waiver of any
                              provision of the DIP Loan Documents, and (ii) without duplication, all
                              reasonable and documented (in summary form) out-of-pocket fees, costs,
                              disbursements and expenses of the DIP Lender (including, but limited in the
                              case of counsels, to all reasonable and documented (in summary form) out-
                              of-pocket fees, costs, disbursements and expenses of outside counsels to the
                              DIP Lender (and any successor counsel), and, to the extent necessary, one
                              firm of local counsel engaged by the DIP Lender in each relevant
                              jurisdiction, and any successor counsel to such primary counsel and local
                              counsel, in each case in connection with (A) the enforcement of any rights
                              and remedies under the DIP Loan Documents, (B) the Chapter 11 Cases,
                              including attendance at all hearings in respect of the Chapter 11 Cases; and
                              (C) defending and prosecuting any actions or proceedings arising out of or
                              relating to the DIP Obligations, the Liens securing the DIP Obligations, or
                              any transaction related to or arising in connection with the DIP Credit
                              Agreement or the other DIP Loan Documents.

 Indemnification:             The Debtors shall jointly and severally indemnify and hold harmless the DIP
                              Lender and each of its affiliates and each of their respective officers,
                              directors, employees, controlling persons, agents, advisors, attorneys and
                              representatives of each (each, an “Indemnified Party”) from and against any
                              and all claims, damages, losses, liabilities and expenses (including, without
                              limitation, fees and disbursements of counsel), joint or several, that may be
                              incurred by or asserted or awarded against any Indemnified Party, in each
                              case arising out of or in connection with or relating to any investigation,
                              litigation or proceeding or the preparation of any defense with respect thereto,
                              arising out of or in connection with or relating to the DIP Facility, the DIP
                              Loan Documents or the transactions contemplated thereby, or any use made
                              or proposed to be made with the DIP Proceeds, whether or not such
                              investigation, litigation or proceeding is brought by any Debtor or any of its
                              subsidiaries, any shareholders or creditors of the foregoing, or any other third
                              party, an Indemnified Party or any other person, or an Indemnified Party is
                              otherwise a party thereto and whether or not the transactions contemplated
                              hereby or under the DIP Loan Documents are consummated, except, with
                              respect to any Indemnified Party, to the extent such claim, damage, loss,
                              liability or expense is found in a final non-appealable judgment by a court of
                              competent jurisdiction to have resulted solely from such Indemnified Party’s

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                              gross negligence or willful misconduct or any of such Indemnified Party’s
                              affiliates or their respective principals, directors, officers, employees,
                              representatives, agents, attorneys or third party advisors. No Indemnified
                              Party shall have any liability (whether direct or indirect, in contract, tort or
                              otherwise) to any Debtor or any of its subsidiaries or any shareholders or
                              creditors of the foregoing for or in connection with the transactions
                              contemplated hereby, except, with respect to any Indemnified Party, to the
                              extent such liability is found in a final non-appealable judgment by a court of
                              competent jurisdiction to have resulted solely from such Indemnified Party’s
                              gross negligence or willful misconduct or any of such Indemnified Party’s
                              affiliates or their respective principals, directors, officers, employees,
                              representatives, agents, attorneys or third party advisors. In no event,
                              however, shall any Indemnified Party be liable on any theory of liability for
                              any special, indirect, consequential or punitive damages.

 Assignments and              No consent of the Borrowers shall be required for any assignments of the
 Participations:              rights under the DIP Facility to a US subsidiary of the DIP Lender.

 Governing Law:               Except as governed by the Bankruptcy Code, the law of the State of Delaware.

 Counsel to the DIP Lender:   Cooley LLP

 Local Counsel to the DIP     Morris, Nichols, Arsht & Tunnell LLP
 Lender:

 Counsel to the Debtors:      Young Conaway Stargatt & Taylor, LLP




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